                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION
 SHANE COOK, KARLA CARO,                                )
                                                        )
                                  Plaintiffs,           )
                                                        )
                        v.                              )      Case No. 4:21-cv-00930-RK
                                                        )
 FAMILY MOTORS, LLC, DERRICK                            )
 RICHARDSON, ANTONIO HARBIN,                            )
 BRENDA YOAKUM-KRIZ,                                    )
                                                        )
                                  Defendants.           )
                              SECOND ORDER TO SHOW CAUSE
        The Complaint in this action was filed on December 24, 2021. (Doc. 1.) Under the Federal
Rules of Civil Procedure, “if a defendant is not served within 90 days after the complaint is filed,
the court – on motion or on its own after notice to the plaintiff – must dismiss the action without
prejudice against that defendant or order that service be made within a specified time.” Fed. R.
Civ. P. 4(m). Plaintiffs were required to serve all Defendants on or before March 24, 2022. To
date, no service of process has been filed as to Defendants Derrick Richardson and Antonio
Harbin. 1 On May 13, 2022, the Court issued a show cause order for failure to provide proof of
service of the Complaint on Defendants Richardson and Harbin. (Doc. 42.) Plaintiffs’ show cause
response was due on or before May 20, 2022. (Id.) Plaintiffs did not file the show cause response
as ordered by the Court. 2
        It is therefore ORDERED that Plaintiffs shall show cause in writing why their claims
against Defendants Derrick Richardson and Antonio Harbin should not be dismissed for failure to



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           Defendant Brenda Yoakum-Kriz filed a waiver of service on January 13, 2022, and Plaintiffs filed
a return of service as to Defendant Family Motors, LLC on April 20, 2022. (Docs. 4, 34, respectively).
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           Plaintiffs did file two additional motions on May 20, 2022, however: (1) a motion for default
judgment against Defendant Family Motors, LLC (Doc. 43), and (2) a motion for summary judgment and
supporting suggestions against Defendant Yoakum-Kriz (Docs. 44, 45, 46). In these filings, Plaintiffs
(1) acknowledged they have failed to timely serve Defendants Harbin and Richardson (Doc. 43 at 3), and
(2) stated that should their motions for default judgment and summary judgment be granted, they “concede”
they will “file no objection to the dismissal” of Defendants Harbin and Richardson (Doc. 46 at 9). Neither
of these filings are or could be construed as an appropriate show cause response as ordered by the Court.
Rule 4(m) requires that if a defendant is not timely served, the Court must dismiss the claims against that
defendant without prejudice or order that service be made within a specified time.
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provide timely proof of service to the Court. Plaintiffs’ show cause response is due on or before
May 27, 2022. Failure to show cause pursuant to this Second Show Cause Order will result in
dismissal of said claims without further notice.
       IT IS SO ORDERED.



                                                       s/ Roseann A. Ketchmark
                                                       ROSEANN A. KETCHMARK, JUDGE
                                                       UNITED STATES DISTRICT COURT

        DATED: May 24, 2022




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